Case 2:25-cv-00162-SJB-LGD          Document 1   Filed 01/10/25    Page 1 of 38 PageID #: 45




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK
                          CENTRAL ISLIP DIVISION

  Jonathan Claybrook,
  individually and on
  behalf of the putative classes,

        Plaintiff,

  v.

  Carco Group Inc. d/b/a Cisive,                        Case No.
  and
  SPI Researchers, LLP,

       Defendants.
  _________________________________/

       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
        COMES NOW the Plaintiff, Jonathan Claybrook, on behalf of himself and

  all others similarly situated, by and through his undersigned Counsel, and alleges

  the following against Defendants, CARCO GROUP INC. d/b/a CISIVE

  (hereinafter “CISIVE”) and SPI Researchers LLP, (“SPI”). Defendants are

  consumer reporting agencies (“CRAs”) providing consumer report information

  used by prospective employers to make employment decisions. Defendants’ willful

  failures to follow the FCRA’s simple requirements for issuing consumer reports

  used for employment purposes scuttled Plaintiff’s opportunities for employment.

  Plaintiff seeks justice for himself, and the classes of consumers impacted by

  Defendants’ unlawful conduct.


                                             1
Case 2:25-cv-00162-SJB-LGD      Document 1      Filed 01/10/25   Page 2 of 38 PageID #: 46




                          PRELIMINARY STATEMENT

        1.     This is an action for actual, statutory, and punitive damages, costs, and

  attorneys’ fees brought pursuant to the Fair Credit Reporting Act (“FCRA”), 15

  U.S.C. §§ 1681–1681x, and the common law tort of defamation.

        2.     The FCRA requires that companies like CISIVE and SPI—which sell

  employment and/or background check reports that have a serious and decisive

  impact on the ability of consumers to obtain employment and/or housing

  opportunities—follow reasonable procedures to ensure the maximum possible

  accuracy of the information they report. Congress described these obligations placed

  on consumer reporting agencies as “grave responsibilities.” 15 U.S.C. § 1681.

        3.     Defendants failed to treat these obligations accordingly, and despite

  knowing that their process for obtaining consumer report information was

  inadequate, they continued to sell reports that inflicted harm upon consumers,

  including Plaintiff.

        4.     This case arises because Defendants routinely violated the accuracy

  requirement of the FCRA by reporting inaccurate, incomplete or misleading

  information about consumers, including Plaintiff.

        5.     Such misreporting, which results from the failure to use reasonable

  procedures designed to ensure the information the Defendant reports is as accurate

  as possible, results in a violation of the FCRA’s accuracy requirement.



                                            2
Case 2:25-cv-00162-SJB-LGD       Document 1     Filed 01/10/25   Page 3 of 38 PageID #: 47




        6.       Defendants’ practices harm consumers seeking employment by

  prejudicing potential employers with inaccurate, incomplete and misleading adverse

  information.

        7.       Plaintiff brings class action claim under FCRA § 1681e(b) against

  Defendants because they falsely reported him, and countless other consumers, as

  being convicted for crimes for which they were never convicted.

        8.       The Consumer Financial Protection Bureau has noted, “experience

  indicates that [CRAs] lack incentives and under-invest in accuracy” Consumer Fin.

  Prot. Bureau, Supervisory Highlights Consumer Reporting Special Edition 21 (Issue

  14, March 2, 2017). This is particularly true as to how Defendants have complied

  with its now 50-year-old obligation to conduct a meaningful and accurate

  investigation.

        9.       The FCRA also requires that a consumer reporting agency reporting

  negative public record information likely to have an adverse effect on a consumer’s

  ability to obtain employment must provide the consumer with contemporaneous

  notice of that it is reporting such information and to whom it is reporting it or

  maintain strict procedures to ensure the information is up to date and complete. 15

  U.S.C. § 1681k.

        10.      Discovery will prove Defendants violated 15 U.S.C. § 1681k(a)(1) and

  (2) by failing to maintain strict procedures to ensure the information reported was



                                            3
Case 2:25-cv-00162-SJB-LGD      Document 1       Filed 01/10/25   Page 4 of 38 PageID #: 48




  complete and up to date and failing to notify consumers at the time it was reporting

  negative public record information likely to have an adverse effect on their ability

  to obtain employment or housing. Id.

        11.    The FCRA also requires consumer reporting agencies, upon request,

  disclose to consumers all of the information the agency possesses about them,

  including the sources of the information used in their consumer report. 15 U.S.C. §

  1681g.

        12.    Discovery will prove CISIVE violated 15 U.S.C. § 1681g(a)(2) by

  failing to disclose to Plaintiff the sources of information used in the preparation of

  his consumer report.

        13.    The FCRA’s interlocking accuracy, completeness, up-to-date-ness,

  notice and disclosure requirements are intended to protect consumer privacy by

  restricting the use of consumer reports to permissible purposes and implement

  safeguards to ensure the information being reported is accurate and consumers are

  made aware of what is being reported about them.

                           JURISDICTION AND VENUE

        14.    The jurisdiction of this Court is conferred by 15 U.S.C. § 1681p and 28

  U.S.C. § 1331.

        15.    Venue is proper in this District and Division because CISIVE is

  headquartered in this District and Division.



                                            4
Case 2:25-cv-00162-SJB-LGD       Document 1      Filed 01/10/25   Page 5 of 38 PageID #: 49




                                        PARTIES

        16.    Plaintiff is a natural person and a resident of the State of Missouri. He

  is a “consumer” as defined by 15 U.S.C. § 1681a(c).

        17.    CISIVE is a “consumer reporting agency” as defined in 15 U.S.C. §

  1681a(f) or a “reseller” as defined in 15 U.S.C. § 1681a(u), and it sells consumer

  reports used for employment purposes to employers. It is headquartered in New

  York and issued Plaintiff’s consumer report to his prospective employer.

        18.    SPI Researchers, LLP, a Texas entity, is a CRA that sells consumer

  report information used for employment purposes to other CRAs or resellers,

  including to Defendant Cisive.

                             FACTUAL ALLEGATIONS

                         Section 1681e(b) of The Fair Credit
                  Reporting Act Requires Substantive Investigations

        19.    “Congress enacted FCRA in 1970 out of concerns about abuses in the

  consumer reporting industry. See S. Rep. No. 91–517, at 3 (1969); 116 Cong. Rec.

  35941 (1970) (statement of Sen. Proxmire); id. at 36570 (statement of Rep.

  Sullivan); . . . . In enacting FCRA, Congress adopted a variety of measures designed

  to insure that agencies report accurate information.” Dalton v. Capital Associated

  Indus., Inc., 257 F.3d 409, 414–15 (4th Cir. 2001). “In recognition of the critical role

  that CRAs play in the credit markets and the serious consequences borne by

  consumers because of inaccurate information disseminated in consumer credit


                                             5
Case 2:25-cv-00162-SJB-LGD      Document 1     Filed 01/10/25   Page 6 of 38 PageID #: 50




  reports prepared by CRAs, Congress placed on a CRA what can only be described

  as very high legal duties of care, set forth . . . in 15 U.S.C. §§ 1681e(b),

  1681i(a)(1)(A), and 1681i(a)(3)(A).” Burke v. Experian Info. Sols., Inc., No. 1:10-

  cv-1064 AJT/TRJ, 2011 WL 1085874, at *4 (E.D. Va. Mar. 18, 2011).

        20.    “Section 1681e(b) sets forth the CRAs’ overall du[t]y:

               (b) Accuracy of report. Whenever a consumer reporting agency
               prepares a consumer report it shall follow reasonable procedures
               to assure maximum possible accuracy of the information
               concerning the individual about whom the report relates.

        21.    As the Fourth Circuit explained in Johnson v. MBNA:

               The key term at issue here, “investigation,” is defined as “[a]
               detailed inquiry or systematic examination.” Am. Heritage
               Dictionary 920 (4th ed.2000); see Webster’s Third New Int'l
               Dictionary 1189 (1981) (defining “investigation” as “a searching
               inquiry”).

  357 F.3d 426, 430 (4th Cir. 2004).

        22.    Further, as the Defendants are aware, courts have held that even though

  the term “investigation” is not used in § 1681e(b), it is clear that CRAs have a duty

  to conduct a reasonable initial investigation pursuant to § 1681e(b) and that this is

  “central” to the CRAs’ duties of care under that portion of the Act:

        This conclusion flows from the plain meaning of both [§ 1681e(b) and
        § 1681i(a)]. For example, Section 1681e(b) requires (1) “reasonable
        procedures” that (2) “assure” (3) “maximum possible accuracy.” To
        “assure” means “to make sure or certain: put beyond all
        doubt.” Webster’s Third New International Dictionary 133 (1993).
        “Maximum” means the “greatest in quantity or highest degree
        attainable” and “possible” means something “falling within the bounds


                                           6
Case 2:25-cv-00162-SJB-LGD      Document 1      Filed 01/10/25   Page 7 of 38 PageID #: 51




        of what may be done, occur or be conceived . . . .” Id. at 1396, 1771. It
        is difficult to imagine how “maximum possible accuracy” could be
        guaranteed without an adequate investigation. Likewise, Section
        1681i(a)(1)(A) requires a “reinvestigation,” necessarily implying that
        an “investigation” was required to have been performed in the first
        instance. Burke, 2011 WL 1085874, at *4.

        23.    It has long been the law – since 1970 in fact – that:

        [W]hen a CRA learns or should reasonably be aware of errors in its
        reports that may indicate systematic problems (by virtue of information
        from consumers, report users, from periodic review of its reporting
        system, or otherwise), it must review its procedures for assuring
        accuracy and take any necessary steps to avoid future problems.
        Similarly, it should establish procedures to avoid reporting information
        from its furnishers that appears implausible or inconsistent.

  Fed. Tr. Comm’n, 40 YEARS OF EXPERIENCE WITH THE FAIR CREDIT REPORTING ACT

  (July 2011), at 67.1

           Defendants Failed to Accurately Report Consumer Information

        24.    Plaintiff was offered employment by Wells Fargo as a Senior

  Residential Valuation Specialist.

        25.    As a condition of employment, Plaintiff was required to undergo a

  background check.

        26.    On January 6, 2023, Wells Fargo ordered Plaintiff’s consumer report

  from CISIVE.

  1
    Available at https://www.ftc.gov/sites/default/files/documents/reports/40–years–
  experience–fair–credit–reporting–act–ftc–staff–report–summary–
  interpretations/110720fcrareport.pdf.



                                            7
Case 2:25-cv-00162-SJB-LGD        Document 1     Filed 01/10/25    Page 8 of 38 PageID #: 52




        27.   Subsequently, to compile Plaintiff’s consumer report, CISIVE procured

  Plaintiff’s consumer report from SPI.

        28.   On or around January 12, 2023, because of the information contained

  in the consumer report, Wells Fargo rescinded Plaintiff’s job offer. Specifically,

  Wells Fargo rejected him because the report CISIVE produced, containing the

  information it had obtained from SPI, included a “guilty” 2011 disposition for a

  marijuana-related felony in Missouri.




        29.   The criminal history information SPI sold to CISIVE, which CISIVE

  then reported Wells Fargo, was inaccurate, incomplete, misleading and never should

  have been reported.

        30.   Plaintiff   never     pled   guilty   or   was      convicted   of   Felony

  “Distribute/Deliver/Manufacture/Produce or Attempt to or Possess with Intent to

  Distribute/Deliver/Manufacture/Produce” as Defendants reported. Thus, the

  information Defendants reported was inaccurate.




                                             8
Case 2:25-cv-00162-SJB-LGD     Document 1      Filed 01/10/25   Page 9 of 38 PageID #: 53




        31.   If Defendants had conducted a reasonable investigation and reviewed

  the appropriate court documents, they would have found Plaintiff was ultimately

  charged only with “Attempt to Produce a Controlled Substance.”




        32.   Plaintiff entered a plea of guilty to “Attempt to Produce a Controlled

  Substance.” The report was misleading and implied he had entered a plea to the

  crime of “Distribute /Deliver /Manufacture / Produce . . . A Controlled Substance.”

        33.   SPI did not conduct a reasonable investigation into Plaintiff’s criminal

  history. Instead of reviewing the actual file, SPI relied upon an electronic copy of

  the court’s docket, which only showed the original charge against Plaintiff.




        34.   SPI did not obtain or review the actual court documents reflecting the

  charge to which Plaintiff entered a plea. Relying on electronic dockets is not a

  reasonable investigation into a consumer’s criminal history. A reasonable

  investigation would have entailed reviewing the underlying court documents.


                                           9
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25       Page 10 of 38 PageID #:
                                         54



       35.    Furthermore, the electronic docket clearly revealed Plaintiff received

 a Suspended Imposition of Sentence (SIS). Under Missouri law, an SIS is neither

 a conviction nor a disposition of “guilty.”

       36.    In fact, since 1979, Missouri has had a law providing courts the option

 of suspending the imposition of a sentence. MO. STAT. 557.011.2

       37.    While Defendants may argue that it was technically accurate that

 Plaintiff entered a plea of guilty to “Attempt to Produce a Controlled Substance,” it

 was inaccurate to report that he had pled guilty or been convicted of “Distribute

 /Deliver /Manufacture / Produce . . . A Controlled Substance.”

       38.    Furthermore, it was inaccurate and misleading to report a disposition of

 guilty as Plaintiff was never found guilty or sentenced for the felony. To the contrary,

 Plaintiff was not sentenced by the court and there is no conviction on the publicly

 available docket.

       39.    It is equally misleading to omit from the report that sentencing was

 suspended.

       40.    Setting aside that the criminal history should not have been reported at

 all because of the SIS designation, the consumer report was neither complete nor up



 2
   Pursuant to 15 U.S.C. § 1681t(b)(1)(E), because Mo. Stat. 557.011 was effective
 prior to September 30, 1996, it pre-empts any federal definitions of “conviction” for
 purposes of determining whether certain information may be included in a consumer
 report. See, e.g., Aldaco v. RentGrow, Inc., 921 F.3d 685, 688 (7th Cir. 2019).


                                           10
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25       Page 11 of 38 PageID #:
                                        55



 to date because it did not include the SIS designation. The SIS designation provides

 context to the (inaccurate, incomplete and misleading) information reported about

 Plaintiff.

        41.    Furthermore, a Missouri Constitutional Amendment effective on

 December 8, 2023, effectively expunged Plaintiff’s marijuana-related criminal

 history. The sentences for certain marijuana offenses, including the felony for which

 Plaintiff received the SIS disposition, were vacated. MO. CONST. art. XIV, § 2.

        42.    A vacated sentence is not a conviction under federal law. Under federal

 sentencing guidelines, a vacated sentence is void and not counted in criminal history.

        43.    Defendants’ publication of reports and public record information that

 was ultimately transmitted to Wells Fargo would not have occurred but for the

 Defendants’ failure to follow reasonable procedures to assure the maximum possible

 accuracy of the information in Plaintiff’s consumer report as required by 15 U.S.C.

 § 1681e(b).

        44.    Relying on electronic records is not a reasonable procedure to ensure

 the maximum accuracy of a consumer report containing criminal history.

        45.    Moreover, a report that excludes pertinent information providing

 context to the report is not compiled with maximum possible accuracy. SPI’s failure

 to include pertinent information pertaining to Plaintiff’s SIS disposition when it

 provided Plaintiff’s consumer report information to CISIVE demonstrates SPI’s



                                          11
Case 2:25-cv-00162-SJB-LGD     Document 1 Filed 01/10/25       Page 12 of 38 PageID #:
                                       56



 failure to follow reasonable procedures to ensure maximum accuracy of the

 information it reports.

       46.    At minimum, SPI should have known the SIS designation should have

 been included in the information it reported about Plaintiff since it regularly

 researches, compiles and obtains court records in Missouri.

       47.    Because SPI did not include SIS designations in its consumer reports,

 it did not maintain strict procedures to ensure the information it reported was

 complete and up to date.

       48.    SPI has been researching, compiling and obtaining court records in

 Missouri for many years, and should have known that it was prohibited from

 reporting criminal history in cases where the Court suspended an imposition of

 sentence.

       49.    SPI has been researching, compiling and obtaining court records in

 Missouri for many years, and should have known that certain marijuana sentences

 had been vacated effective December 8, 2023, by constitutional amendment.

       50.    SPI should never have reported Plaintiff’s marijuana offenses vacated

 effective December 8, 2023, by constitutional amendment.

       51.    Discovery will prove CISIVE does not conduct its own courthouse

 research. Instead, CISIVE relies on third parties such as SPI to compile and

 summarize the information CISIVE then transmits through its consumer reports.



                                         12
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25        Page 13 of 38 PageID #:
                                         57



       52.    Discovery will confirm that CISIVE takes no steps to confirm the

 information SPI provides, instead relying completely on what SPI gives it.

       53.    Since CISIVE never obtains or reviews the complete court files of the

 consumers upon whom it reports criminal history information, it cannot assert it has

 strict procedures in place to assure it is reporting information that is “complete and

 up to date.” 15 U.S.C. § 1681k(a)(2).

       54.    CISIVE has been providing Missouri criminal history information to its

 customers for many years, and should know that in Missouri, an SIS designation is

 not a conviction or finding of guilt.

       55.    CISIVE has been providing Missouri criminal history information to its

 customers for many years, and should know that in Missouri, since 1979, it is

 prohibited from reporting SIS designations as convictions or findings of guilt.

       56.    Defendants should have both known that the FCRA prohibits reporting

 Missouri SIS designations as convictions or findings of guilt.

       57.    Discovery will prove CISIVE does not require the third parties from

 whom it procures consumer report information to review and provide CISIVE with

 the court documents underlying the criminal history CISIVE is reporting. Thus,

 CISIVE does not take reasonable measures to ensure the maximum accuracy of the

 consumer report information it ultimately provides to prospective employers

 because it does not independently review the information before it is reported.



                                          13
Case 2:25-cv-00162-SJB-LGD     Document 1 Filed 01/10/25      Page 14 of 38 PageID #:
                                       58



       58.   Discovery will show CISIVE does not require third parties such as SPI

 to exclude or identify SIS dispositions in the consumer report information third

 parties compile for CISIVE. Thus, CISIVE does not take reasonable measures to

 assure the maximum accuracy of the consumer report information it ultimately

 provides to prospective employers.

       59.   CISIVE has been selling Missouri criminal history information to

 employers for many years and should have known that certain marijuana sentences

 had been vacated effective December 8, 2023, by constitutional amendment.

       60.   Plaintiff did not receive at-the-time notice from CISIVE that it was

 reporting negative information about him to Wells Fargo. CISIVE knew or should

 have known such information was likely to adversely affect his opportunity for

 employment. Therefore, CISIVE unlawfully reported information about Plaintiff

 without providing him the requisite at-the-time notice. 15 U.S.C. § 1681k(a)(1).

       61.   CRAs such as Defendants deal in volume and use standardized

 procedures to gather information and attribute it to individuals. They therefore use

 processes designed to be cost-effective rather than accurate, because ensuring

 accuracy often costs Defendants additional money.

       62.   Defendants failed to follow reasonable procedures to ensure the

 maximum possible accuracy regarding the information they sold about Plaintiff.




                                         14
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25      Page 15 of 38 PageID #:
                                        59



       63.    Defendants’ reporting of the inaccurate, incomplete and misleading

 information concerning Plaintiff was neither accidental nor a result of simple

 negligence, but instead a result of flawed policies and procedures.

                          The Adverse Employment Action

       64.    On January 18, 2023, Wells Fargo provided Plaintiff with notice it was

 reviewing his criminal history information and might take an adverse employment

 action against him. Wells Fargo advised Plaintiff he could challenge the accuracy or

 completeness of the report and identified the consumer reporting agency from whom

 it was obtaining the information as CISIVE.

       65.    On February 3, 2023, after Wells Fargo informed Plaintiff it was

 rescinding his job offer based upon the consumer report it had received from

 CISIVE, Plaintiff initiated a dispute with CISIVE concerning the contents of his

 consumer report, including the reporting of the 2012 marijuana-related felony, and

 demanded a copy of the report.

       66.    After Plaintiff initiated the dispute, CISIVE revised Plaintiff’s

 consumer report, removing the 2012 marijuana-related felony information that never

 should have been reported in the first place. The revised report only referenced the

 misdemeanor for unlawful use of drug paraphernalia.




                                          15
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25       Page 16 of 38 PageID #:
                                        60




       67.    The subsequent revision of the report confirms the 2012 marijuana-

 related felony information never should have been included in the report and was

 inaccurate, incomplete and misleading at the time it was reported. In fact, the report

 is described as “a revised and corrected report.”

       68.    Ironically, the “revised and corrected report" was also inaccurate as

 Plaintiff’s misdemeanor conviction should not have been reported.

       69.    However, it was “too little, too late.”      Wells Fargo had already

 rescinded Plaintiff’s job offer, i.e. taken adverse employment action against him.

       70.    If Defendants had not reported inaccurate, incomplete or misleading

 information about Plaintiff to Wells Fargo, Wells Fargo would not have rejected him

 for employment.

       71.    If Defendants had taken reasonable measures to ensure the maximum

 possible accuracy of the information being reported about Plaintiff to Wells Fargo,

 Wells Fargo would not have taken an adverse employment action against him.


                                          16
Case 2:25-cv-00162-SJB-LGD        Document 1 Filed 01/10/25      Page 17 of 38 PageID #:
                                          61



       72.      If Defendants had taken reasonable measures to ensure the information

 being reported about Plaintiff to Wells Fargo was complete and up to date, Wells

 Fargo would not have taken an adverse employment action against him.

       73.      If Defendants had provided Plaintiff with at-the-time notice it was

 reporting negative information about Plaintiff to Wells Fargo that was likely to have

 an adverse effect on his prospects for employment, Plaintiff would have initiated the

 dispute process sooner and secured his employment with Wells Fargo.

                                  Full File Disclosure

       74.        In July and December of 2023, Plaintiff requested from CISIVE a

 full disclosure of the consumer report information CISIVE had about him in his

 consumer report file. Specifically, in July, 2023, Plaintiff his mailed requests by

 certified mail to CISIVE’s 1030 Lillington Highway, Spring Lake, North Carolina

 address previously provided to him. In December 2023, Plaintiff submitted his

 request by email pursuant to the instructions on CISIVE’s website.

       75.      CISIVE never responded to Plaintiff’s full file disclosure requests.

          Plaintiff Suffered Actual Harm from the Inaccurate Reporting

       76.      As a result of Defendant’s reporting of the inaccurate information about

 Plaintiff, he has suffered damages, including, but not limited to:

             a. Loss of income and wages;

             b. Humiliation;



                                            17
Case 2:25-cv-00162-SJB-LGD        Document 1 Filed 01/10/25      Page 18 of 38 PageID #:
                                          62



             c. Stress associated with the loss of employment;

             d. Loss of time attempting to cure the error;

             e. Mental anguish, stress, aggravation, and other related impairments to
                the enjoyment of life from being denied employment; and

             f. Stress and wasted time associated with attempting to resolve this matter

                over the course of the last few years.

       77.      In the employment context, the FCRA imposes upon CRAs additional

 requirements designed to protect consumers’ rights. In keeping with the FCRA’s

 fundamental goal of transparency, the FCRA requires that CRAs that provide reports

 that contain public-record information likely to have an adverse effect on a

 consumer’s ability to obtain employment, must either:

       (1) at the time such public record information is reported to the user of
       such consumer report, notify the consumer of the fact that public record
       information is being reported by the consumer reporting agency,
       together with the name and address of the person to whom such
       information is being reported; or

       (2) maintain strict procedures designed to ensure that whenever public
       record information which is likely to have an adverse effect on a
       consumer’s ability to obtain employment is reported it is complete and
       up to date. For purposes of this paragraph, items of public record
       relating to arrests, indictments, convictions, suits, tax liens, and
       outstanding judgments shall be considered up to date if the current
       public record status of the item at the time of the report is reported.

 15 U.S.C. § 1681k(a)(1), (2).

       78.      CISIVE violated 15 U.S.C. § 1681k(a)(1) when it failed to provide

 Plaintiff with contemporaneous notice when it furnished Plaintiff’s negative


                                            18
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25       Page 19 of 38 PageID #:
                                        63



 consumer report information, which was likely to have an adverse effect his

 employment or potential employment, to Wells Fargo. The information CISIVE

 furnished certainly fits the bill of “negative information” likely to have an adverse

 effect on employment. However, CISIVE never notified Plaintiff that it was

 reporting negative information about him or reporting such information to anyone at

 all.

        79.   SPI violated Section 1681k(a)(1) because it reported information to

 CISIVE that was likely to have a negative affect on Plaintiff’s ability to obtain

 employment and it knew CISIVE would sell for employment purposes, and it did

 not provide Plaintiff with contemporaneous notice that it was providing that

 information to CISIVE.

        80.   CISIVE also violated 15 U.S.C. § 1681k(a)(2) because it did not

 maintain strict procedures to ensure the public-record information it reports is

 complete and up to date. If CISIVE had in fact maintained strict procedures, it would

 not have misreported information for expunged or vacated crimes.

        81.   CISIVE violated 15 U.S.C. § 1681k(a)(2) because it did not maintain

 strict procedures to ensure the public-record information it reports is complete and

 up to date. If it had in fact maintained strict procedures, it would not have

 misreported Plaintiff’s SIS disposition as “pled guilty” to a crime to which he didn’t

 plea and “convicted.”



                                          19
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25       Page 20 of 38 PageID #:
                                        64



       82.    CISIVE violated 15 U.S.C. § 1681k(a)(2) because it did not maintain

 strict procedures to ensure the public-record information it reports is complete and

 up to date. If it had in fact maintained strict procedures, the SIS designation,

 expungement or fact the guilty plea was vacated, would have also been reported.

       83.    SPI violated 15 U.S.C. § 1681k(a)(2) because its process for obtaining

 consumer report information was flawed. SPI did not review complete court files

 make sure the records it reported were complete and up to date. Instead, SPI relied

 upon charging documents, electronic dockets, or the equivalent to obtain the

 information it reported.

                        Defendants’ Violations Were Willful

        84. The FCRA allows for a remedy for a “willful” violation. A willful act

 or violation includes “not only knowing violations of [the statute], but reckless ones

 as well.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, at 57 (2007). A “reckless”

 action includes conduct whereby “the company ran a risk of violating the law

 substantially greater than the risk associated with a reading that was merely

 careless.” at 69.

        85. Proof of willfulness includes, for example, “evidence that other

 consumers have lodged complaints similar to” the one made by the Plaintiff and a

 failure to make the correction right away. Dalton, 257 F.3d at 418; Saunders v.

 Branch Banking & Trust Co. of Va., 526 F.3d 142, 151 (4th Cir. 2008).



                                          20
Case 2:25-cv-00162-SJB-LGD     Document 1 Filed 01/10/25      Page 21 of 38 PageID #:
                                       65



        86. As detailed above, the FCRA sections at issue here and its informative

 guidance have been around for over 50 years. The language of § 1681e(b), §

 1681k(a)(1), (2) and 1681g and have not changed. Neither the FCRA’s caution about

 Defendant’s “grave responsibilities” to ensure accuracy nor its notification

 requirements have changed.

                       CLASS ACTION ALLEGATIONS

       87.   Plaintiff asserts a claim against SPI on behalf of a “SPI § 1681e(b) –

 Failure to Follow Reasonable Procedures” Class defined as:

       All consumers in Missouri upon whom SPI reported convictions for
       crimes that had been expunged, vacated or for which the imposition
       of a sentence was suspended within five years of the filing of this
       lawsuit through the date of final judgment in this action.

       88.   Plaintiff also asserts a claim against CISIVE on behalf of a “CISIVE §

 1681e(b) – Failure to Follow Reasonable Procedures Class” defined as:

       All consumers in Missouri who were the subject of a consumer
       report furnished by CISIVE that included convictions for crimes
       that had been expunged, vacated or for which the imposition of a
       sentence was suspended, within five years of the filing of this
       lawsuit through the date of final judgment in this action.

       89.   Plaintiff also asserts a claim against CISIVE on behalf of a “CISIVE §

 1681k Class” defined as:

       All consumers in the United States who were the subject of a
       consumer report furnished for employment purposes by CISIVE
       that included criminal history entries of the grade of misdemeanor
       or higher, within five years of filing this lawsuit through the date of
       final judgement in this action.




                                         21
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25        Page 22 of 38 PageID #:
                                        66



       90.    Plaintiff also asserts a claim against CISIVE on behalf of a “CISIVE §

 1681g(a)(1)-(2) Full File Disclosure Class” defined as:

       All consumers in the United States who requested, and
       subsequently received, a consumer report file from CISIVE that
       did not contain a clear, accurate or complete disclosure of their
       consumer report file, including the sources of information in those
       files, within five years of the filing of this lawsuit through the date
       of final judgment in this action.

       91.    Numerosity. The members of the putative classes are so numerous that

 the joinder of all class members is impracticable. CISIVE furnished thousands of

 consumer reports nationwide. SPI regularly compiles consumers’ personal, private,

 and sensitive information into consumer reports for sale to CRAs and employers.

 Plaintiff is informed and believes that during the relevant time period, tens of

 thousands of employees and prospective employees, if not hundreds of thousands,

 satisfy the definition of the putative classes. Based on the number of putative class

 members and their geographic disbursal, joinder is impracticable. The names and

 addresses of the class members are identifiable through Defendants’ records and

 putative class members may be notified of this action by mailed notice.

       92.    Predominance of Common Questions of Law or Fact.                    Class

 treatment is also appropriate because questions of law or fact common to the putative

 Classes predominate over any questions affecting only individual members of the

 putative Classes, and also because a class action is superior to other available

 methods for the fair and efficient adjudication of this litigation. Defendants’ conduct


                                           22
Case 2:25-cv-00162-SJB-LGD     Document 1 Filed 01/10/25      Page 23 of 38 PageID #:
                                       67



 stems from common and uniform policies and practices, resulting in common

 violations of the FCRA. Such common questions include, among others:

             a.    whether SPI failed to take reasonable measures to ensure

                   maximum possible accuracy of its information it reported to

                   CISIVE and others;

             b.    whether CISIVE failed to take reasonable measures to ensure

                   maximum possible accuracy of the information contained in the

                   consumer reports it sold to employers;

             c.    whether CISIVE ensured the consumer report information it

                   reported was complete and up to date at the time it was being

                   reported;

             d.    whether CISIVE failed to provide consumers contemporary

                   notice when issuing consumer reports that contained public-

                   record information likely to have an adverse effect on

                   consumers’ ability to obtain employment;

             e.    whether Defendants’ violations of the FCRA were willful;

             f.    the proper measure of statutory damages; and

             g.    the proper form of relief.

       93.   Members of the putative classes do not have an interest in pursuing

 separate actions against Defendants, as the amount of each class member’s



                                         23
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25        Page 24 of 38 PageID #:
                                        68



 individual claim for damages is small in comparison to the expense and burden of

 individual prosecution. Class certification will also obviate the need for unduly

 duplicative litigation that might result in inconsistent judgments concerning

 Defendants. Moreover, management of this action as a class action will not present

 any foreseeable difficulties. In the interests of justice and judicial efficiency, it

 would be desirable to concentrate the litigation of all putative class members’ claims

 in a single action, brought in a single forum.

        94.   This case is further maintainable as a class action because prosecution

 of actions by or against individual members of the putative classes would result in

 inconsistent or varying adjudications and create the risk of incompatible standards

 of conduct for Defendants. Further, adjudication of each individual class member’s

 claim as a separate action would potentially be dispositive of the interest of other

 individuals not a party to such action, thereby impeding their ability to protect their

 interests.

        95.   This case is also maintainable as a class action because Defendants

 acted or refused to act on grounds that apply generally to the putative classes.

        96.   Class certification is also appropriate because questions of law and fact

 common to the putative class predominate over any questions affecting only

 individual members of the putative class, and also because a class action is superior

 to other available methods for the fair and efficient adjudication of this litigation.



                                           24
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25       Page 25 of 38 PageID #:
                                         69



 Defendants’ conduct stems from common and uniform policies and practices,

 resulting in common violations of the FCRA. Moreover, management of this action

 as a class action will not present any foreseeable difficulties. In the interests of

 justice and judicial efficiency, it would be desirable to concentrate the litigation of

 all putative class members’ claims in a single action, brought in a single forum.

        97.    Adequacy of Representation. Plaintiff will fairly and adequately

 protect the interests of the putative Classes and has retained Counsel experienced in

 complex class action litigation, including nationwide class actions pressing claims

 under the FCRA.

                      CLASS ACTION CLAIMS FOR RELIEF

                                       COUNT I

                             FCRA VIOLATION
    Failure to Follow Reasonable Procedures to Assure Maximum Accuracy
     (Individually and on behalf of the “SPI § 1681e(b) – Failure to Follow
                        Reasonable Procedures Class”)

        98.    Plaintiff restates the allegations set forth in Paragraphs 19 through 84

 as if fully set forth herein.

        99.    SPI willfully violated 15 U.S.C. § 1681e(b) because it provided

 consumer report information about Plaintiff, which was used for employment

 purposes, without following reasonable procedures to assure maximum possible

 accuracy of the information about Plaintiff.




                                           25
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25        Page 26 of 38 PageID #:
                                         70



       100. SPI invaded Plaintiff’s privacy by compiling Plaintiff’s personal,

 private, and sensitive consumer report information without assuring maximum

 possible accuracy.

       101. SPI misappropriated Plaintiff’s likeness by compiling Plaintiff’s

 personal, private, and sensitive consumer report information, for profit, without

 assuring maximum possible accuracy of the information.

       102. SPI caused Plaintiff injury because the information SPI trafficked,

 which never should have been reported, was used, in whole or in part, as the basis

 for an adverse employment action.

       103. The forgoing violations were willful. SPI’s willful conduct is also

 reflected by, among other things, the following facts:

              a.      SPI knew of potential FCRA liability;

              b.      SPI is a consumer reporting agency with access to legal advice

                      through their own general counsel’s office and outside

                      employment counsel, and there is not contemporaneous

                      evidence that it determined that its conduct was lawful;

              c.      The FCRA’s maximum possible accuracy requirement is

                      clearly spelled out in the plain language of the statute;




                                            26
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25       Page 27 of 38 PageID #:
                                         71



                d.   SPI knew or had reason to know that their conduct was

                     inconsistent with published FTC guidance interpreting the

                     FCRA and the plain language of the statute;

                e.   SPI voluntarily ran a risk of violating the law substantially

                     greater than the risk associated with a reading that was merely

                     careless;

             f.      Plaintiff and the putative class are entitled to statutory damages

                     of not less than one hundred dollars ($100) and not more than

                     one thousand dollars ($1,000) for each and every one of these

                     violations under 15 U.S.C. § 1681n(a)(1)(A), in addition to

                     punitive damages under 15 U.S.C. § 1681n(a)(2); and

             g.      Plaintiff and the class are further entitled to recover their costs

                     and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3).

       104. Plaintiff and the SPI 1681e(b) Class are entitled to statutory damages

 of between $100 and $1,000 for each and every one of these violations under 15

 U.S.C. § 1681n(a)(1)(A), in addition to punitive damages under 15 U.S.C. §

 1681n(a)(2).

       105. Plaintiff and the SPI 1681e(b) Class are further entitled to recover their

 costs and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3). Plaintiff and

 the SPI 1681e(b) Class are entitled to statutory damages of between $100 and $1,000



                                           27
Case 2:25-cv-00162-SJB-LGD        Document 1 Filed 01/10/25      Page 28 of 38 PageID #:
                                          72



 for each and every one of these violations under 15 U.S.C. § 1681n(a)(1)(A), in

 addition to punitive damages under 15 U.S.C. § 1681n(a)(2).

                                       COUNT II

                             FCRA VIOLATION
    Failure to Follow Reasonable Procedures to Assure Maximum Accuracy
   (Individually and on behalf of the “CISIVE § 1681e(b) – Failure to Follow
                        Reasonable Procedures Class”)
          106. Plaintiff restates the allegations set forth in Paragraphs 19 through 84

 as if fully set forth herein.

          107. CISIVE willfully violated 15 U.S.C. § 1681e(b) because it compiled

 and sold consumer report information about Plaintiff, which was used for

 employment purposes, without following reasonable procedures to assure maximum

 possible accuracy of the information about Plaintiff.

          108. CISIVE invaded Plaintiff’s privacy by compiling Plaintiff’s personal,

 private, and sensitive consumer report information without assuring maximum

 possible accuracy of the information it reported.

          109. CISIVE misappropriated Plaintiff’s likeness by compiling Plaintiff’s

 personal, private, and sensitive consumer report information, for profit, without

 assuring its maximum possible accuracy, and publishing such information to a third

 party.




                                            28
Case 2:25-cv-00162-SJB-LGD        Document 1 Filed 01/10/25       Page 29 of 38 PageID #:
                                          73



       110. CISIVE caused Plaintiff injury because the information CISIVE

 trafficked was used, in whole or in part, as the basis for an adverse employment

 action.

       111. The forgoing violations were willful. CISIVE’s willful conduct is also

 reflected by, among other things, the following facts:

              a. CISIVE knew of potential FCRA liability;

              b. CISIVE is a consumer reporting agency with access to legal advice

                   through their own general counsel’s office and outside employment

                   counsel, and there is not contemporaneous evidence that it

                   determined that its conduct was lawful;

              c. The FCRA’s maximum possible accuracy requirement is clearly

                   spelled out in the plain language of the statute;

              d. CISIVE knew or had reason to know that its conduct was

                   inconsistent with published FTC guidance interpreting the FCRA

                   and the plain language of the statute;

              e.   CISIVE voluntarily ran a risk of violating the law substantially

                   greater than the risk associated with a reading that was merely

                   careless;

       112. Plaintiff and the CISIVE 1681e(b) Class are entitled to statutory

 damages of between $100 and $1,000 for each and every one of these violations



                                            29
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25      Page 30 of 38 PageID #:
                                         74



 under 15 U.S.C. § 1681n(a)(1)(A), in addition to punitive damages under 15 U.S.C.

 § 1681n(a)(2).

          113. Plaintiff and the CISIVE 1681e(b) Notice Class are further entitled to

 recover their costs and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3).

                                      COUNT III

                                 FCRA VIOLATION
             Failure to Provide Contemporaneous Notice When Reporting
            Public-Record Information Likely To Have an Adverse Impact
                   on Consumers’ Ability to Maintain Employment
          (Individually and on behalf of the “CISIVE § 1681k Notice Class”)

          114. CISIVE willfully violated 15 U.S.C. § 1681k(a)(1) because it provided

 consumer reports about Plaintiff and Class Members, which were used for

 employment purposes and contained public-record information likely to have an

 adverse effect on consumers’ ability to obtain employment, without providing the

 subjects of the report contemporaneous notice that it was furnishing the report to the

 users.

          115. CISIVE cannot rely on the “strict procedures” requirement of Section

 1681k(a)(2) because it takes no steps to ensure the public-record information it

 reports is complete and up to date before it reports the information to end-users.

          116. Plaintiff and class members suffered informational injury by CISIVE’s

 failure to provide them with statutorily required information when such information

 was due.



                                           30
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25        Page 31 of 38 PageID #:
                                         75



       117. CISIVE further caused Plaintiff and class members injury because it

 deprived Plaintiff and class members of the knowledge that it was reporting

 information about them that may affect their job prospects, eliminating those

 individuals’ ability to correct inaccuracies or preemptively discuss any negative

 information with potential employers.

       118. The forgoing violations were willful. At the time CISIVE violated 15

 U.S.C. § 1681k(a)(1), CISIVE knew it was required to provide contemporaneous

 notice of its furnishing of reports because it has no process in place to meet the strict

 procedures requirement of Section 1681k(a)(2) when it furnishes reports for

 employment purposes that contain negative public-record information. CISIVE’s

 willful conduct is also reflected by, among other things, the following facts:

              a.     CISIVE knew of potential FCRA liability;

              b.     CISIVE is a company with access to legal advice through its own

                     general counsel’s office and outside employment counsel, and

                     there will be no contemporaneous evidence that it determined

                     that its conduct was lawful;

              c.     The FCRA’s at-the-time notice requirement is clearly spelled out

                     in the plain language of the statute;




                                            31
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25        Page 32 of 38 PageID #:
                                        76



             d.     CISIVE knew or had reason to know that its conduct was

                    inconsistent with published FTC guidance interpreting the FCRA

                    and the plain language of the statute; and

             e.     CISIVE voluntarily ran a risk of violating the law substantially

                    greater than the risk associated with a reading that was merely

                    careless.

       119. Plaintiff and the CISIVE 1681k Notice Class are entitled to statutory

 damages of between $100 and $1,000 for each and every one of these violations

 under 15 U.S.C. § 1681n(a)(1)(A), in addition to punitive damages under 15 U.S.C.

 § 1681n(a)(2).

       120. Plaintiff and the CISIVE 1681k Notice Class are further entitled to

 recover their costs and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3).

                                    COUNT IV

                              FCRA VIOLATION
          Failure to Provide Contemporaneous Notice When Reporting
         Public-Record Information Likely To Have an Adverse Impact
                on Consumers’ Ability to Maintain Employment
         (Individually and on behalf of the “SPI § 1681k Notice Class”)

       121. SPI willfully violated 15 U.S.C. § 1681k(a)(1) because it provided

 consumer reports about Plaintiff and Class Members, which were used for

 employment purposes and contained public-record information likely to have an

 adverse effect on consumers’ ability to obtain employment, without providing the



                                         32
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25       Page 33 of 38 PageID #:
                                        77



 subjects of the report contemporaneous notice that it was furnishing the report to the

 users.

          122. SPI cannot rely on the “strict procedures” requirement of Section

 1681k(a)(2) because it takes no steps to ensure the public-record information it

 reports is complete and up to date before it reports the information to end-users.

          123. Plaintiff and class members suffered informational injury by SPI’s

 failure to provide them with statutorily required information when such information

 was due.

          124. SPI further caused Plaintiff and class members injury because it

 deprived Plaintiff and class members of the knowledge that it was reporting

 information about them that may affect their job prospects, eliminating those

 individuals’ ability to correct inaccuracies or preemptively discuss any negative

 information with potential employers.

          125. The forgoing violations were willful. At the time SPI violated 15

 U.S.C. § 1681k(a)(1), SPI knew it was required to provide contemporaneous notice

 of its furnishing of reports because it has no process in place to meet the strict

 procedures requirement of Section 1681k(a)(2) when it furnishes reports for

 employment purposes that contain negative public-record information. SPI’s willful

 conduct is also reflected by, among other things, the following facts:

               a.    SPI knew of potential FCRA liability;



                                          33
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25      Page 34 of 38 PageID #:
                                        78



             b.     SPI is a company with access to legal advice through its own

                    general counsel’s office and outside employment counsel, and

                    there will be no contemporaneous evidence that it determined

                    that its conduct was lawful;

             c.     The FCRA’s at-the-time notice requirement is clearly spelled out

                    in the plain language of the statute;

             d.     SPI knew or had reason to know that its conduct was inconsistent

                    with published FTC guidance interpreting the FCRA and the

                    plain language of the statute; and

             e.     SPI voluntarily ran a risk of violating the law substantially

                    greater than the risk associated with a reading that was merely

                    careless.

       126. Plaintiff and the SPI §1681k Notice Class are entitled to statutory

 damages of between $100 and $1,000 for each and every one of these violations

 under 15 U.S.C. § 1681n(a)(1)(A), in addition to punitive damages under 15 U.S.C.

 § 1681n(a)(2).

       127. Plaintiff and the SPI §1681k Notice Class are further entitled to recover

 their costs and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3).




                                          34
Case 2:25-cv-00162-SJB-LGD      Document 1 Filed 01/10/25        Page 35 of 38 PageID #:
                                        79



                                      COUNT V

                               FCRA VIOLATION
             Failing to Provide Consumers with a Full File Disclosure.
  (Plaintiff individually and on behalf of a CISIVE § 1681g(a)(1)-(2) “Full File
                                 Disclosure Class”)

        128. Plaintiff restates the allegations set forth in Paragraphs 19-84 as if fully

 set forth herein.

       129. CISIVE willfully violated 15 U.S.C. § 1681g(a)(1)-(2) because it failed

 to clearly, accurately and fully disclose to consumers all of the information in their

 consumer reports.

       130. CISIVE willfully violated 15 U.S.C. § 1681g(a)(1)-(2) because it failed

 to clearly, accurately and fully disclose to consumers the sources of information

 contained in their consumer reports.

       131. Plaintiff and class members suffered informational injury by CISIVE’s

 failure to provide them with statutorily required information when such information

 was due.

       132. CISIVE further caused Plaintiff and Class Members injury because it

 deprived Plaintiff and Class Members of the knowledge that it was reporting

 information about them that may affect their job prospects, eliminating those

 individuals’ ability to correct inaccuracies or communicate directly with the sources

 of their consumer report information.

       133. CISIVE unjustly used the information about Plaintiff, and sources from


                                           35
Case 2:25-cv-00162-SJB-LGD       Document 1 Filed 01/10/25        Page 36 of 38 PageID #:
                                         80



 which it was derived, for profit, but failed to lawfully disclose to Plaintiff and class

 members the source of their personal information from which it was profiting.

       134. The forgoing violations were willful. At the time CISIVE violated 15

 U.S.C. § 1681g(a)(1)-(2), CISIVE knew it was required to clearly and accurately

 disclose to consumers “all information” in the consumer’s file, as well as the sources

 of such information. CISIVE’s willful conduct is also reflected by, among other

 things, the following facts:

              a.     CISIVE knew of potential FCRA liability;

              b.     CISIVE is a company with access to legal advice through its own

                     general counsel’s office and outside employment counsel, and

                     there will be no contemporaneous evidence that it determined

                     that its conduct was lawful;

              c.     The FCRA’s at-the-time notice requirement is clearly spelled out

                     in the plain language of the statute;

              d.     CISIVE knew or had reason to know that its conduct was

                     inconsistent with published FTC guidance interpreting the FCRA

                     and the plain language of the statute; and

              e.     CISIVE voluntarily ran a risk of violating the law substantially

                     greater than the risk associated with a reading that was merely

                     careless.



                                           36
Case 2:25-cv-00162-SJB-LGD         Document 1 Filed 01/10/25      Page 37 of 38 PageID #:
                                           81



       135. Plaintiff and the Full File Disclosure Class are entitled to statutory

 damages of between $100 and $1,000 for each and every one of these violations

 under 15 U.S.C. § 1681n(a)(1)(A), in addition to punitive damages under 15 U.S.C.

 § 1681n(a)(2).

        136. Plaintiff and the Full File Disclosure Class is further entitled to recover

 their costs and attorneys’ fees, in accordance with 15 U.S.C. § 1681n(a)(3).

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the putative classes, prays

 for relief as follows, in the form of an order:

                  a.   determining that this action may proceed as a class action;

                  b.   designating Plaintiff as class representative and designating

                       Plaintiff’s Counsel as counsel for the putative classes;

                  c.   requiring notice to the putative classes at CISIVE and SPI’s

                       expense;

                  d.   finding that CISIVE and SPI committed multiple, separate

                       violations of the FCRA;

                  e.   finding that CISIVE and SPI acted willfully in deliberate or

                       reckless disregard of Plaintiff’s rights and its obligations under

                       the FCRA;




                                             37
Case 2:25-cv-00162-SJB-LGD    Document 1 Filed 01/10/25       Page 38 of 38 PageID #:
                                      82



              f.   awarding statutory damages as provided by the FCRA, including

                   punitive damages, to members of the putative classes; and

              g.   awarding reasonable attorneys’ fees and costs as provided by the

                   FCRA.

 DATED: January 10, 2025                     Respectfully submitted,


                                             /s/Andrew R. Frisch
                                             Andrew R. Frisch
                                             NY Bar No.: 3957115
                                             MORGAN & MORGAN, P.A.
                                             8151 Peters Rd, 4th Floor
                                             Plantation, FL 33324
                                             Telephone: (954) WORKERS
                                             Fax: (954) 327-3013
                                             Email: afrisch@forthepeople.com

                                             Marc R. Edelman, ESQ. (PHV
                                             forthcoming)
                                             Fla. Bar No. 0096342
                                             MORGAN & MORGAN, P.A.
                                             201 N. Franklin Street, Suite 700
                                             Tampa, FL 33602
                                             Telephone: 813-577-4722
                                             Fax: 813-257-0572
                                             Email: MEdelman@forthepeople.com

                                             Attorney for Plaintiffs




                                        38
